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                         UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLORADO


        UNITED STATES OF AMERICA                       JUDGMENT IN A CRIMINAL CASE
                                                       (For Revocation of Supervised Release)

                        v.                             Case Number: 10-cr-00210-REB-01
                                                       USM Number: 36513-013
              SHANE LEE ALLEN
                                                       Scott Thomas Varholak, AFPD
                                                       (Defendant's Attorney)

THE DEFENDANT: Admitted guilt to violations 1 through 3, as alleged in the probation officer's
petition.

The defendant is adjudicated guilty of these violations:
                                                                                                     Violation
 Violation Number        Nature of Violation                                                          Ended
          1              Failure to Reside In/Comply with Rules of Residential Reentry               04/24/13
                         Center (RRC)
          2              Failure to Participate in Sex Offender Specific Treatment as                04/24/13
                         Directed by the Probation Officer
          3              Failure to Notify the Probation Officer of All Computer And/Or              03/31/13
                         Internet Access Devices to Which the Defendant Has Access

      The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must
notify the court and United States Attorney of material changes in economic circumstances.

        It is further ordered that the Addendum to this judgment, which contains the defendant’s social
security number, residence address and mailing address, shall be withheld from the court file and
retained by the United States Probation Department.

                                                                        November 14, 2013
                                                                    Date of Imposition of Judgment


                                                                s/ Robert E. Blackburn
                                                                          Signature of Judge



                                                            Robert E. Blackburn, U.S. District Judge
                                                                         Name & Title of Judge

                                                                November 22, 2013

                                                                                 Date
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                                            IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of eight (8) months.

         The court recommends that the Bureau of Prisons designate the defendant to a detention
facility within the State and District of Colorado, preferably in the Denver metropolitan area.

       The defendant is remanded to the custody of the United States Marshal.




                                               RETURN


I have executed this judgment as follows:




       Defendant delivered on                            to

at                                 , with a certified copy of this judgment.




                                                                  UNITED STATES MARSHAL



                                                    By
                                                                  Deputy United States Marshal
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                                       SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of five
(5) years.

       The defendant must report to the probation office in the district to which he is released within
72 hours of his release from the custody of the Bureau of Prisons.

       The defendant shall not commit another federal, state or local crime.

       The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and two periodic drug tests thereafter.

       The defendant shall not possess a firearm as defined in 18 U.S.C. § 921.

       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       The defendant shall register with the state sex offender registration agency in the state where
the defendant resides, works, or is a student, as directed by the probation officer.

      If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court
as well as any additional conditions on the attached page.

                           STANDARD CONDITIONS OF SUPERVISION

1)     The defendant shall not leave the judicial district without the permission of the court or probation
       officer.
2)     The defendant shall report to the probation officer in a manner and frequency directed by the
       court or probation officer.
3)     The defendant shall answer truthfully all inquiries by the probation officer and follow the
       instructions of the probation officer.
4)     The defendant shall support his dependents and meet other family responsibilities.
5)     The defendant shall work regularly at a lawful occupation unless excused by the probation
       officer for schooling, training or other acceptable reasons.
6)     The defendant shall notify the probation officer at least ten days prior to any change in
       residence or employment.
7)     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
       distribute, or administer any controlled substance, or any paraphernalia related to any controlled
       substance, except as prescribed by a physician.
8)     The defendant shall not frequent places where controlled substances are illegally sold, used,
       distributed, or administered.
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9)      The defendant shall not associate with any persons engaged in criminal activity and shall not
        associate with any person convicted of a felony, unless granted permission to do so by the
        probation officer.
10)     The defendant shall permit a probation officer to visit him at any time at home or elsewhere and
        shall permit confiscation of any contraband observed in plain view by the probation officer.
11)     The defendant shall notify the probation officer within seventy-two hours of being arrested or
        questioned by a law enforcement officer.
12)     The defendant shall not enter into any agreement to act as an informer or a special agent of a
        law enforcement agency without the permission of the court.
13)     As directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant's criminal record or personal history or characteristics, and shall
        permit the probation officer to make such notifications and to confirm the defendant's
        compliance with such notification requirement.
14)     The defendant shall provide the probation officer with access to any requested financial
        information.

                          ADDITIONAL CONDITIONS OF SUPERVISION

1       The defendant shall participate in and successfully complete a program of testing and/or
        treatment for drug abuse, as approved by the probation officer, until such time as the defendant
        is released from the program by the probation officer. The defendant shall abstain from the use
        of alcohol or other intoxicants during the course of treatment and shall pay the cost of treatment
        as directed by the probation officer.

2       The defendant shall participate in and successfully complete a program of mental health
        treatment, as approved by the probation officer, until such time as the defendant is released
        from the program by the probation officer. The defendant shall pay the cost of treatment as
        directed by the probation officer. The Court authorizes the probation officer to release to the
        treatment agency all psychological reports and/or the presentence report for continuity of
        treatment.

3.      The defendant shall participate in an approved program of sex offender evaluation and
        treatment, which may include polygraph, plethysmograph and Abel examinations, as directed by
        the probation officer. The defendant will be required to pay the cost of these evaluations and
        treatment. The defendant shall comply with the rules and restrictions specified by the treatment
        agency. The Court authorizes the probation officer to release psychological reports and/or the
        presentence report to the treatment agency for continuity of treatment.

4.      The defendant shall notify the probation officer of all computers and/or other Internet access
        devices to which the defendant has access. The defendant shall submit his person, and any
        property, house, residence, vehicle, papers, computer, other electronic communications or data
        storage devices or media, and effects to search at any time, with or without a warrant, by any
        law enforcement or probation officer with reasonable suspicion concerning a violation of a
        condition of supervised release or unlawful conduct by the person, and by any probation officer
        in the lawful discharge of the officer’s supervision functions.

5.      The defendant shall allow the probation officer to install software/hardware designed to monitor
        computer activities on any computer the defendant is authorized to use. The software may
        record any and all activity on the computer, including the capture of keystrokes, application
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     information, Internet use history, email correspondence, and chat conversations. A notice will
     be placed on the computer at the time of installation to warn others of the existence of the
     monitoring software on the computer. The defendant shall not attempt to remove, tamper with,
     reverse engineer, or in any way circumvent the software/hardware.
